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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                       Case No. 18-21365-Civ-WILLIAMS/TORRES


   ST. LOUIS CONDOMINIUM
   ASSOCIATION, INC.,

         Plaintiff,

   v.

   ROCKHILL INSURANCE COMPANY,

         Defendant.

   ___________________________________________/

        ORDER ON DEFENDANT’S OMNIBUS MOTION FOR SANCTIONS

         This matter is before the Court on Rockhill Insurance Company’s

   (“Defendant”) omnibus motion for sanctions against St. Louis Condominium

   Association, Inc. (“Plaintiff”). [D.E. 154]. Plaintiff responded to Defendant’s motion

   on February 14, 2019 [D.E. 163] to which Defendant replied on February 21, 2019.

   [D.E. 172].   Therefore, Defendant’s omnibus motion is now ripe for disposition.

   After careful review of the motion, response, reply, relevant authority, and for the

   reasons discussed below, Defendant’s motion is DENIED.

                       I. APPLICABLE PRINCIPLES AND LAW

         A district court has broad authority under Rule 37 to control discovery.

   Federal Rule of Civil Procedure 37(b) authorizes the court to impose such sanctions

   “as are just” against a party that violates an order compelling discovery. Fed. R.

   Civ. P. 37(b)(2). The Rule includes a list of possible sanctions:


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          (i)     directing that the matters embraced in the order or other
                  designated facts be taken as established for purposes of the
                  action, as the prevailing party claims;
          (ii)    prohibiting the disobedient party from supporting or opposing
                  designated claims or defenses, or from introducing designated
                  matters in evidence;
          (iii)   striking pleadings in whole or in part;
          (iv)    staying further proceedings until the order is obeyed;
          (v)     dismissing the action or proceeding in whole or in part;
          (vi)    rendering a default judgment against the disobedient party; or
          (vii)   treating as contempt of court the failure to obey any order except
                  an order to submit to a physical or mental examination.

   Fed. R. Civ. P. 37(b)(2)(A).

          In addition, Rule 37(d)(1) provides that the “court where the action is pending

   may, on motion, order sanctions if: (i) a party . . . fails, after being served with

   proper notice, to appear for . . . deposition.” Fed. R. Civ. P. 37(d)(1)(A). Sanctions

   for failure to appear at a duly noticed deposition “may include any of the orders

   listed in Rule 37(b)(2)(A)(i)—(vi).” Fed. R. Civ. P. 37(d)(3).       “Instead of or in

   addition to [such a sanction], the court must order the disobedient party, the

   attorney advising that party, or both to pay the reasonable expenses, including

   attorney’s fees, caused by the failure, unless the failure was substantially justified

   or other circumstances make an award of expenses unjust.” Fed. R. Civ. P.

   37(b)(2)(c); see also Fed. R. Civ. P. 37(d)(3).

          “Rule 37 sanctions are imposed not only to prevent unfair prejudice to the

   litigants but also to insure the integrity of the discovery process.” Aztec Steel Co. v.

   Fla. Steel Corp., 691 F.2d 480, 482 (11th Cir. 1982).           A   district court has

   substantial discretion in deciding whether and how to impose sanctions under Rule



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   37. See Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1366 (11th Cir. 1997).

   And a district court is authorized to dismiss a case for failure to prosecute or failure

   to comply with a court order or the federal rules. See Fed. R. Civ. P. 41(b); Gratton

   v. Great Am. Commc’ns, 178 F.3d 1373, 1374 (11th Cir. 1999).                 Dismissal

   under Rule 41(b) is appropriate where “there is a ‘clear record of delay or willful

   contempt and a finding that lesser sanctions would not suffice.’” Goforth v. Owens,

   766 F.2d 1533, 1535 (11th Cir. 1985) (quotation and citation omitted).

                                      II. ANALYSIS

         Defendant’s omnibus motion for sanctions contains four main arguments.

   First, Defendant argues that Plaintiff violated the Court’s November 5, 2018

   Discovery Order that required the parties to provide the complete files of all expert

   witnesses.   Defendant claims that it incurred substantial costs and expenses in

   obtaining the complete files and did so just in time for a December 5, 2018

   deposition. Second, Defendant contends that Plaintiff concealed the identity of a

   building engineer-maintenance supervisor, Yrell Curbello (“Mr. Curbello”), who

   provided material information to Plaintiff’s experts – William Pyznar and Hector

   Torres.   Defendant suggests that Plaintiff violated the Court’s Scheduling Order

   because it requires the parties to furnish lists of names and addresses of fact

   witnesses on or before June 15, 2018 and to supplement that list within ten days of

   any new information.     Defendant alleges that Plaintiff concealed Mr. Curbello’s

   identity until three weeks after the discovery deadline in December 2018 and

   concludes that Plaintiff must be sanctioned accordingly.



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         Third, Defendant argues that Plaintiff failed to disclose the names of

   approximately forty-eight unit owners of the condominium complex until November

   19, 2018 and that Plaintiff refused to narrow down the witnesses it intended to call

   at trial or provide deposition dates. Defendant’s final argument is that Plaintiff

   failed to produce Ms. Nickerson or Jack Erdozain for a deposition and that this was

   prejudicial because Plaintiff’s experts relied on these witnesses in the creation of

   their expert reports.1

         After a though review of the arguments presented and the exhibits attached

   in support thereof, Defendant’s motion is denied for the same reasons presented in

   the denial of Plaintiff’s omnibus motion of sanctions.         [D.E. 180].    That is,

   Defendant’s motion is equally unpersuasive because there is fault on both sides for

   the discovery disputes in this case.     The discovery process requires parties to

   cooperate, find solutions, and only seek judicial relief when appropriate. Yet, in this

   case, the parties have demonstrated that they are incapable of working together

   and rather seek to file motions for sanctions as opposed to working cooperatively.

   Because both parties are at fault for the discovery issues in this case and neither

   has materially complied with the Federal or Local Rules, Defendant’s omnibus

   motion for sanctions is DENIED. [D.E. 154].

         Defendant’s motion is also unpersuasive because Defendant has now shown

   any prejudice for Plaintiff’s alleged discovery violations.    Defendant argues, for

   example, that Plaintiff failed to disclose the names of forty-eight condominium

   1     Defendant maintains that Plaintiff engaged in bad faith conduct when it
   cancelled the deposition of Stephen Pesak and refused to confirm whether the
   deposition of Paul Millard would go forward.

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   owners in its initial disclosures. But, Plaintiff provided a list of these owners in

   response to Defendant’s first request for production in January 2018 and Defendant

   had the benefit of inspecting the units before this lawsuit was filed. This means

   that, while Plaintiff may have technically failed to comply with the Federal Rules

   and amend its initial disclosures, Defendant has not been prejudiced. Accordingly,

   Defendant’s motion is DENIED because there has been no showing that Defendant

   has been prejudiced.

                                  III. CONCLUSION

         For the foregoing reasons, Defendant’s omnibus motion for sanctions [D.E.

   154] is DENIED.

         DONE AND ORDERED in Chambers at Miami, Florida, this 1st day of

   April, 2019.

                                                /s/ Edwin G. Torres
                                                EDWIN G. TORRES
                                                United States Magistrate Judge




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